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      5
          Attorney for Defendant
          Edward Tulysewski
      6
                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
      7

      8

      9   UNITED STATES OF AMERICA,                       )       No. CR-S-11-134 JAM
                                                          )
                                                          )
     10          Plaintiff,                               )       STIPULATION AND
     11
                                                          )       ORDER CONTINUING SENTENCING
          v.                                              )
                                                          )
     12
          EDWARD TULYSEWSKI, et al.,                      )       Date: June 4, 2013
                                                          )       Time: 9:45 a.m.
     13
                                                          )       Judge: Honorable John A. Mendez
                 Defendants.                              )
     14
                                                          )
                                                          )
     15
                                                          )
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     17          IT IS HEREBY stipulated between the United States of America through its undersigned

     18   counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

     19   defendant Edward Michael Tulysewski, Michael L. Chastaine, Esq., that the sentencing hearing

     20   presently set for February 5, 2013 be continued to June 4, 2013, at 9:45 a.m., thus vacating the

     21   presently set sentencing hearing.

     22          Further, all of the parties, the United States of America and all of the defendants as stated

     23   above, hereby agree and stipulate that the interests of justice served by granting this continuance

     24   outweigh the best interests of the defendants and the public in a speedy trial and that time under

     25   the Speedy Trial Act should be excluded under Title 18, United States Code Section

     26   3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)

     27   and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,

     28   February 5, 2013, to and including June 4, 2013. This is based on the complexity of the case;



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      1   additional time that is required to prepare for the sentencing, and the fact that the defendant is
      2   currently incarcerated at the Butte County Jail in Oroville, California; approximately 120 miles
      3   roundtrip from downtown Sacramento.
      4

      5   IT IS SO STIPULATED.
      6

      7   Dated: January 25, 2013                                       /s/ Michael L. Chastaine
                                                                        MICHAEL L. CHASTAINE
      8                                                                 Attorney for Defendant
                                                                        Edward Michael Tulysewski
      9

     10   Dated: January 25, 2013                                              Benjamin B. Wagner
                                                                        United States Attorney
     11

     12
                                                                by:     /s/ Michael M. Beckwith
                                                                        MICHAEL M. BECKWITH
     13                                                                 Assistant U.S. Attorney
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      3                                               ORDER
      4
                 GOOD CAUSE APPEARING, it is hereby ordered that the February 5, 2013 sentencing
      5
          hearing be continued to June 4, 2013 at 9:45 a.m. I find that the ends of justice warrant an
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          exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
      7
          effective preparation exceeds the public interest. THEREFORE IT IS FURTHER ORDERED
      8
          that time be excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local
      9
          Codes T2 (unusual and complex case) and T4 (preparation by defense counsel) from February 5,
     10   2013 to June 4, 2013.
     11   IT IS SO ORDERED.
     12
          Dated: 1/28/2013
     13                                                        /s/ John A. Mendez____________
                                                               John A. Mendez
     14                                                        United States District Court Judge
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